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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

PEOPLE   FOR     THE    ETHICAL
TREATMENT OF ANIMALS, INC.,
           Plaintiff,

v.
                                                          No. 4:18-CV-01547
MICHAEL K. YOUNG, IN HIS OFFICIAL
CAPACITY AS PRESIDENT OF TEXAS
A&M UNIVERSITY,
            Defendant.



                             JOINT STATUS REPORT AND
                            MOTION TO STAY DEADLINES


      The Parties continue to confer, and the discussions designed to resolve this

litigation have progressed. The Parties now present the following update and request

to the Court:

      1.        Plaintiff filed its Motion for Summary Judgment on March 28, 2019. The

current amended deadline for Defendant to respond is May 17, 2019.

      2.        The Parties have met and conferred via telephone and electronic mail

regarding upcoming deadlines for responding to Plaintiff’s Motion for Summary Judgment

(Dkt. No. 50) and the likelihood of resolving this matter through mediation. While

discussions are on-going, the Parties are making progress.

      3.        Considering the Parties’ continuing interest in resolving this case, the

Parties respectfully request an additional 14-day extension of the current stay and Motion
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 for Summary Judgment response deadline, from May 17, 2019, up to and including May 31,

 2019.

         4.     This Court should grant the requested stay and the extension request. This

Court, like every federal court, has inherent authority to control its docket. See Landis v. N.

Am. Co., 299 U.S. 248, 254 (1936) (referring to the power to stay proceedings as incident to

inherent powers of federal courts); see also In re Stone, 986 F.3d 898, 902 (5th Cir. 1993)

(concluding that federal courts have inherent authority “to protect the efficient and

orderly administration of justice and those necessary to command respect for the court’s

orders, judgments, procedures, and authority.”). Considering that settlement would

resolve this dispute without need for further court intervention, the Parties agree that

staying these proceedings and amending the deadlines as indicated above will save scarce

judicial resource from being wasted.


                                        CONCLUSION


         This Court should grant the Parties’ joint request for a continued stay of

proceedings, so that they may continue discussions aimed at resolving this case without

further court intervention.


          Dated: May 14, 2019.




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                                      Respectfully submitted,

__/s/David Greene (with permission)   KEN PAXTON
DAVID GREENE*                         Attorney General of Texas
ADAM SCHWARTZ
CAMILLE FISCHER                       JEFFREY C. MATEER
Electronic Frontier Foundation        First Assistant Attorney General
815 Eddy Street
San Francisco, CA 94109               DARREN L. MCCARTY
Telephone: (415) 436-9333             Deputy Attorney General for Civil
Facsimile: (415) 436-9333 facsimile   Litigation
davidg@eff.org
                                      SHANNA E. MOLINARE
GABRIEL WALTERS*                      Assistant Attorney General
PETA Foundation                       Chief, Law Enforcement Defense
1536 16th Street NW                   Division
Washington, DC 20036
Telephone: (202) 483-7382             __/s/_Eric A. Hudson______________
gabew@petaf.org                       ERIC A. HUDSON
                                      Attorney-in-Charge
CHRISTOPHER W. ROTHFELDER             State Bar No. 24059977
Rothfelder & Falick, L.L.P.           Southern District ID No. 1000759
1201 Louisiana St., Suite 550
Houston, TX 77002                     MICHAEL R. ABRAMS
Telephone: (713) 220-2288             Assistant Attorneys General
crothfelder@rothfelderfalick.com      Office of the Attorney General
                                      P.O. Box 12548, Capitol Station
*Admitted pro hac vice                Austin, Texas 78711-2548
                                      Telephone: (512) 463-2120
ATTORNEYS FOR PLAINTIFF               Facsimile: (512) 320-0667
                                      eric.hudson@oag.texas.gov
                                      michael.abrams@oag.texas.gov




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                                            W. REID WITTLIFF
                                            MARIA AMELIA CALAF
                                            Wittliff Cutter, PLLC
                                            1803 West Avenue
                                            Austin, Texas 78701
                                            Telephone: (512)960-4865
                                            Facsimile: (512) 960-4869
                                            reid@wittliffcutter.com
                                            mac@wittliffcutter.com

                                            ATTORNEYS FOR DEFENDANT

                                  CERTIFICATE OF SERVICE

      I hereby certify that on this the 14th day of May, 2019, a true and correct copy of the
foregoing was filed using the Court’s CM/ECF system, causing electronic service upon all
counsel of record.

                                         /s/Eric A. Hudson__________
                                         ERIC A. HUDSON
                                         Assistant Attorney General




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